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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                   :
          Plaintiff,                       :       CRIMINAL ACTION NO.
                                           :       08-cr-004 (JCH)
v.                                         :
                                           :
TORRANCE MCCOWN                            :
         Defendant.                        :       MARCH 25, 2009
                                           :

 RULING RE: DEFENDANT TORRANCE MCCOWN’S MOTION FOR JUDGMENT OF
     ACQUITTAL AND IN THE ALTERNATIVE A NEW TRIAL (DOC. NO. 843)

I.     INTRODUCTION

       On February 9, 2009, a jury found defendant Torrance McCown guilty of Count

Two of a Superceding Indictment, which count charged him with conspiracy to possess

with intent to distribute, and to distribute, fifty grams or more of cocaine base, in

violation of Title 21, United States Code, sections 841(a)(1) and 841(b)(1)(A)(iii).

McCown is incarcerated and awaiting sentencing. He now moves the court for

judgment of acquittal pursuant to Fed. R. Crim. P. 29(c) and for a new trial pursuant to

Fed. R. Crim. P. 33. For the following reasons, the court denies McCown’s Motion

(Doc. No. 843).

II.    FACTS

       The Superceding Indictment charged McCown and sixteen others with various

offenses. McCown was charged with conspiring with nine other individuals to possess

with intent to distribute fifty grams or more of cocaine base (“crack”). McCown, who

was tried alone, was convicted by a jury of this charge.




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        At trial, the government presented evidence regarding the conspiracy led by

Roshaun Hoggard to distribute cocaine in New Haven, Connecticut. The evidence

adduced at trial concerning the Hoggard conspiracy, and Torrance McCown’s role

therein, consisted of, inter alia: (1) testimony from Special Agent Uri Shafir that he

spoke with McCown after his arrest, compared his voice to the suspected voice of

McCown on intercepted telephone calls, and found it to be a match; (2) testimony from

Special Agent Raymond Walczyk that he spoke with McCown for approximately three

hours, compared his voice to the suspected voice of McCown on intercepted telephone

calls, and found it to be a match; (3) the testimony of cooperating witness Kenneth

Thames that Thames purchased crack cocaine from Hoggard on various occasions

between September and November 2007; (4) intercepted telephone calls between

Hoggard and Thames communicating in a code1 which, Thames explained, indicated

various quantities of crack cocaine; (5) testimony of Officer Brian Pazsak that he

conducted surveillance of Hoggard and Thames, and that he saw Hoggard and Thames

exchange an item that a reasonable jury could infer was crack cocaine; (6) intercepted

telephone calls between Hoggard and an individual identified by Special Agent Shafir

as McCown; (7) testimony of Special Agent Anastas Ndrenika, testimony of Special

Agent Angelo Meletis, and intercepted telephone calls between Hoggard and a source

of supply in New York City, from which a reasonable jury could infer that on the evening

of November 27, 2007, Hoggard traveled to New York City to obtain powder cocaine

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          Tham es testified that, when m aking orders for drugs, he and Hoggard often used code words to
indicate drug quantities. Pursuant to this code, a “Monday” m eant one-eighth of one ounce of crack
cocaine, also known as an “eight-ball,” “Tuesday” m eant two eight-balls, “W ednesday” m eant three eight-
balls, and “Fortune” m eant four eight-balls. The governm ent offered m ultiple intercepted calls between
Hoggard and Tham es in which they used these codes.

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from his source of supply, identified by the government as Genero Marte; (8) the

testimony of Officer Daniel Sacco that police seized approximately 272 grams of

powder cocaine from Chris Lamont Sherman in the early morning hours of November

28, 2007, and the testimony of Officer Kaitlin Flavin, together with intercepted calls

around the time of that seizure, from which a reasonable jury could conclude that

Hoggard was in a vehicle with Sherman just prior to Sherman’s arrest, and that

Sherman had gone to New York City with Hoggard to obtain the powder cocaine that

was seized; (9) testimony of Special Agent John Rubinstein that he saw an individual in

a red Toyota Solara exit his vehicle and interact with an unidentified individual on the

street, following which that unidentified individual engaged with other individuals on the

street in a manner from which a reasonable jury could infer that the unidentified

individual was engaged in hand-to-hand narcotics transactions; (10) testimony of

Special Agent Raymond Walczyk that he had seen McCown operating the red Toyota

Solara observed by Special Agent Rubinstein; (11) intercepted telephone

conversations, allegedly between Hoggard and McCown, from which a reasonable jury

could conclude that McCown had been the individual driving the red Toyota Solara; (12)

testimony of Officer Michael Paleski that cocaine, along with a pot and kitchen utensils

with cocaine residue on them, were found in a safe in a residence where, the testimony

asserted, Hoggard lived; (13) testimony of Special Agent Shafir that following his arrest,

McCown acknowledged purchasing, each week, up to seven “light” eight-balls (weighing

2.5 to 2.7 grams each) of crack cocaine from Hoggard for resale for a period of ten

months, that Hoggard provided him with the drugs on credit, that Hoggard obtained



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cocaine in powder form in New York City and then transported it to New Haven for

conversion and distribution, and that McCown resold the drugs in “dime bag” quantities

to a network of customers in Newhallville.

         On February 6, 2009, at the close of the government’s case, the court made a

finding (“the Bourjaily finding”) that the government had proven, by a preponderance of

the evidence, that McCown was a member of the charged conspiracy. See Bourjaily v.

United States, 483 U.S. 171 (1987); United States v. Geaney, 417 F.2d 1116 (2d Cir.

1969). Following this ruling, McCown moved for a judgment of acquittal pursuant to

Rule 29 of the Federal Rules of Criminal Procedure. The court denied McCown’s

Motion, stating that:

         The jury has before it not only the now admitted tapes, the telephone
         conversations, they have identification on those tapes of Mr. McCown's voice.
         Perhaps most importantly it has Mr. McCown's statement. The jury may not
         credit the Special Agent. But if the jury does credit the Special Agent's testimony
         about what Mr. McCown said, he, in effect, admitted to being involved with drug
         dealing with Roshaun Hoggard. As the government counsel points out, what he
         said is in effect corroborated either on the telephone calls or by actual I think
         surveillance. For example, of the New York purchase of the powder cocaine.

Trial Transcript (“Tr.”) at 431. The jury returned a verdict of guilty against McCown.

McCown now moves this court, pursuant to Rule 29(c), for a judgment of acquittal. He

also moves this court to set aside the verdict and grant a new trial pursuant to Rule

33(a).

II.      STANDARD OF REVIEW

         A.    Motion for Judgment of Acquittal

         Rule 29(a) of the Federal Rules of Criminal Procedure provides that district

courts “must enter a judgment of acquittal of any offense for which the evidence is


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insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). Rules 29(b) and (c) permit

a court to reserve the decision on the motion until after the jury returns a verdict. “A

defendant challenging the sufficiency of the evidence that was the basis of his

conviction at trial bears a ‘heavy burden.’” United States v. Hawkins, 547 F.3d 66, 70

(2d Cir. 2008) (quoting United States v. Parkes, 497 F.3d 220, 225 (2d Cir. 2007)). In

deciding whether to grant a motion pursuant to Rule 29, the court should “view the

evidence in the light most favorable to the government, drawing all inferences in the

government’s favor and deferring to the jury’s assessments of the witnesses’

credibility.” Hawkins, 547 F.3d at 70. A jury verdict shall be sustained “so long as any

rational trier of fact could have found the essential elements of the crime beyond a

reasonable doubt.” Id. (quoting Parkes, 497 F.3d at 225-6) (internal quotation marks

omitted). “[I]f the evidence viewed in the light most favorable to the prosecution gives

equal or nearly equal circumstantial support to a theory of guilt and a theory of

innocence, then a reasonable jury must necessarily entertain a reasonable doubt.”

United States v. Glenn, 312 F.3d 58, 70 (2d Cir. 2002) (internal quotation marks

omitted).

       B.     Motion for a New Trial

       McCown seeks that a new trial be ordered pursuant to Fed. R. Crim. P. 33. Rule

33(a) allows a district court to vacate “any judgment and grant a new trial if the interest

of justice so requires.” The Rule gives the trial court “broad discretion . . . to set aside a

jury verdict and order a new trial to avert a perceived miscarriage of justice.” United

States v. Ferguson, 246 F.3d 129, 133 (2d Cir. 2001) (internal citation omitted). The

district court, when examining the entire case, must make an objective evaluation of the

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evidence and determine whether “‘competent, satisfactory and sufficient evidence’ in

the trial record” supports the jury’s verdict. Id. Unlike in a Rule 29 motion, where the

court must draw every inference in favor of the government, in a Rule 33 motion the

court is entitled to “weigh the evidence and in doing so evaluate for itself the credibility

of the witnesses.” United States v. Robinson, 430 F.3d 537, 543 (2d Cir. 2005) (quoting

United States v. Sanchez, 969 F.2d 1409, 1413 (2d Cir. 1992)). However, it may not

“wholly usurp the jury’s role.” Id. Although a trial court has substantially more discretion

to grant a new trial under Rule 33 than it does to grant a motion for acquittal under Rule

29, the authority should be exercised “sparingly” and only in “the most extraordinary

circumstances.” Sanchez, 969 F.2d at 1414. “The ultimate test on a Rule 33 motion is

whether letting a guilty verdict stand would be a manifest injustice.” Ferguson, 246 F.3d

at 133. A manifest injustice is found where the court has “a real concern that an

innocent person may have been convicted.” Parkes, 497 F.3d at 232.

III.   DISCUSSION

       A.     Timeliness

       The government argues that McCown’s Motion is untimely. Rule 33 provides

that motions for a new trial, other than those based upon newly discovered evidence,

“must be filed within 7 days after the verdict or finding of guilty.” Fed. R. Crim. P.

33(b)(2). Rule 29 similarly provides that, “A defendant may move for a judgment of

acquittal, or renew such a motion, within 7 days after a guilty verdict or after the court

discharges the jury, whichever is later.” Fed. R. Crim. P. 29(c)(1). Pursuant to Rule 45,

the court may grant an extension of time to file motions under Rule 29 and Rule 33.

Fed. R. Crim. P. 45(b)(1) (“When an act must or may be done within a specified period,

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the court on its own may extend the time, or for good cause may do so on a party’s

motion made: (A) before the originally prescribed or previously extended time expires

. . . .); see also Advisory Committee Notes to 2005 Amendments to Rule 45

(“Assuming that the current provisions in Rules 29, 33, and 34 were intended to

promote finality, there is nothing to prevent the court from granting the defendant a

significant extension of time . . . . The defendant . . . may consistently with Rule 45,

seek an extension of time to file the underlying motion as long as the defendant does

so within the seven-day period.”). The verdict was returned on February 9, 2009, and

McCown moved for an extension of time on February 10, 2009 (Doc. No. 809). The

court granted an extension of time until March 11, 2009. See Order (Doc. No. 812).

Because McCown moved within the seven-day period for an extension of time within

which to file motions pursuant to Rule 29 and Rule 33, and filed his Motions on March

10, 2009, within the extended time period, his Motions were timely filed.

       B.     Motion for Judgment of Acquittal

       The court finds that the evidence presented at trial was sufficient for a

reasonable jury to conclude that McCown was guilty of conspiracy to possess with

intent to distribute, and to distribute, fifty grams or more of cocaine base.

       McCown acknowledges the testimony in the record that he admitted selling crack

cocaine for Hoggard for a period of six or seven months. McCown also acknowledges

the existence of intercepted tape recordings from which the jury could conclude that

McCown was delivering drugs for Hoggard. McCown disputes, however, that the

conversations confirm his inculpatory statement, contending that the conversations

“could be construed to show nothing more than Mr. McCown had a menial low-level job

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of distributing drugs for Mr. Hoggard on deals which Mr. Hoggard himself had

consummated.” Mot. at 3. Because the conversations do not confirm the statement,

McCown contends, and a defendant’s post-arrest statement must be corroborated to

serve as the basis of a conviction, his conviction should be overturned. He also

disputes that the evidence establishes that the drug involved in the conspiracy was

crack as opposed to powder cocaine or some other drug.

      As McCown concedes, Special Agent Shafir testified that McCown admitted

committing the crime with which he was charged. Specifically, McCown acknowledged

purchasing up to 15-19 grams of crack cocaine each week for a period of ten months,

purchasing those drugs for the purpose of reselling them, repackaging them into “dime

bag” quantities, and selling them to a network of customers. He acknowledged that

Hoggard provided him the drugs on credit, and that he knew that Hoggard obtained

cocaine in powder form in New York City and then transported it to New Haven for

conversion and distribution.

      “It is a long-settled principle that ‘an accused may not be convicted on his own

uncorroborated confession.’” United States v. Bryce, 208 F.3d 346, 354 (2d Cir. 1999)

(quoting Smith v. United States, 348 U.S. 147, 152 (1954)). The modern incarnation of

this Rule, which also applies to admissions, provides that to serve as the basis of a

conviction, there must be “substantial independent evidence which would tend to

establish the trustworthiness of the statement.” Id. (quoting Opper v. United States,

348 U.S. 84, 93 (1954)). The Second Circuit has further explained that,

      [D]eclarations of a defendant made in the course of the acts charged as an
      offense can be divided into two categories—those that bear insufficient indicia of
      reliability as proof of the defendant's commission of the offense to support a

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        finding of guilt beyond a reasonable doubt, and those that, considering the
        nature and the context of the defendant's words, demonstrate his commission of
        the offense so reliably that, without need of other supporting evidence, they can
        support a finding of guilt beyond a reasonable doubt. Statements in the latter
        category may be considered self-corroborating. When the prosecution seeks to
        support a finding of guilt for a possessory offense on the defendant's statements
        alone, unless they fall into the second category, corroborative evidence is
        required. If, on the other hand, the defendant's statements, given their nature
        and context, can support a finding of guilt beyond a reasonable doubt, no further
        evidence is required.

Bryce, 208 F.3d at 355. While it appears to the court that the statement likely falls into

the self-corroboration category, the court will treat it as requiring corroboration, because

in its judgment the statement was adequately corroborated.

        McCown does not dispute that the evidence showed that Hoggard ran a

conspiracy to distribute narcotics, but disputes that the intercepted telephone calls of

McCown and Hoggard evidenced distribution of crack cocaine as opposed to some

other drug.2 The evidence at trial was, however, more than sufficient for a jury to

conclude beyond a reasonable doubt that Hoggard ran a conspiracy to distribute crack

cocaine in New Haven, Connecticut during the time period charged in the indictment.

From testimony of cooperating witness Thames, testimony regarding surveillance

conducted of Thames and Hoggard, and intercepted telephone calls, the jury could infer

that Thames purchased from Hoggard, and resold in smaller quantities, crack cocaine

between September and November 2007. Although quantities like “eight balls” and


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          At trial, McCown denied that he had participated in the intercepted telephone conversations as
alleged by the governm ent. In his Motion, he appears to accept, at least for purposes of the Motion, that
his voice was the voice on the recordings. See Mot. at 3-4 (“The heart of the governm ent’s case,
however, was tape recorded conversations between Mr. Hoggard and Mr. McCown.”). Because McCown,
in his Motion, challenges the content of the conversations and what they dem onstrate, and not the
antecedent question of whether he participated in the conversations, and because at trial the governm ent
adduced sufficient evidence for the jury to identify his voice on the intercepted conversations, the court will
assum e in ruling on McCown’s Motion, without detailed discussion, that his voice was adequately
identified on the recordings.
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“dime bags” could be applicable to powder cocaine, Thames testified to the fact that

Hoggard and he were in fact distributing crack cocaine, not powder cocaine. From

testimony of Special Agent Ndrenika, Special Agent Meletis, and intercepted telephone

calls, the jury could infer that Hoggard obtained powder cocaine from a source of supply

in New York City and transported it to New Haven. From the testimony of Officer

Paleski regarding the search of 397 Edgewood Avenue, other testimony asserting that

397 Edgewood was Hoggard’s residence, and intercepted telephone calls involving

Hoggard, the jury could infer that Hoggard “cooked” powder cocaine into crack cocaine

at his residence. Thus, a reasonable jury, if it credited the evidence in the record, could

have concluded that Hoggard was obtaining powder cocaine, converting it to crack

cocaine, and then distributing it in New Haven through intermediaries. Though the

aforementioned testimony did not confirm McCown’s involvement in the conspiracy, it

did corroborate several aspects of McCown’s statement—that Hoggard obtained

powder cocaine in New York City to convert into crack, and that Hoggard distributed

crack in “eight ball” quantities that associates converted to dime bags for resale on the

street.

          With regard to McCown’s involvement in the conspiracy, McCown contends that

the intercepted telephone calls do not confirm McCown’s post-arrest statement’s

characterization of his role in the conspiracy, but instead demonstrate only that

McCown “had a menial low-level job of distributing drugs for Mr. Hoggard on deals

which Mr. Hoggard himself had consummated.” Mot. at 3. As a result, McCown




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argues, the intercepted telephone calls do not corroborate his post-arrest admissions.3

        The court disagrees. First, the intercepted telephone calls and post-arrest

admissions were not the sole evidence of McCown’s participation in the conspiracy.

Special Agent Raymond Walczyk testified that he had seen McCown operating a red

Toyota Solara. Special Agent John Rubinstein testified that he saw an individual in the

same red Toyota Solara exit his vehicle and interact with an unidentified individual on

the street, following which that unidentified individual engaged in what could be

construed to be hand-to-hand narcotics transactions. These interactions took place

contemporaneously with intercepted telephone calls between Hoggard and McCown, in

which Hoggard instructed McCown where to go. When viewed in the light most

favorable to the government and in conjunction with other evidence in the case, a

reasonable jury could conclude that Rubinstein observed McCown provide an

unidentified individual with crack cocaine, previously obtained from Hoggard, that the

unidentified individual then redistributed to others.

        Second, comparing the intercepted telephone conversations to the post-arrest

admission, the court disagrees that the calls do not corroborate his admission. The

government presented approximately 30 telephone calls between Hoggard and an


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          It is unclear whether McCown also contends that evidence that he was a low-level distributor,
without m ore, would be insufficient to convict him of conspiracy to distribute. The Second Circuit has
carved out an exception to conspiracy liability for certain transferees, known as the buyer-seller exception.
See United States v. Parker, 554 F.3d 230, 234-35 (2d Cir. 2009) (quoting United States v. Gore, 154
F.3d 34, 40 (2d Cir. 1998)). However, this exception does not protect those engaged in procuring drugs in
wholesale quantities and redistributing them to end-users, even if such a person’s role in the conspiracy is
relatively m inor. See id. Individuals who play a m inor role m ay still be convicted of conspiracy;
discrepancies in role are typically addressed through application of the Sentencing Guidelines, which
provide for taking the relative severity of the individual defendant’s role into account. See U.S.S.G. §§
3B1.1 & 3B1.2. Even assum ing that McCown’s characterization of what the intercepted calls show
accurately reflects his role in the conspiracy, evidence of being a “m enial low-level” drug distributor for
Hoggard would be sufficient evidence from which a reasonable jury could find that McCown was a
knowing and intentional participant in the Hoggard conspiracy.
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individual claimed to be McCown from which a reasonable jury could conclude that

McCown was distributing drugs he had obtained from Hoggard. McCown’s post-arrest

admission elaborated more precisely the time-frame during which McCown engaged in

dealings with Hoggard, the quantities McCown purchased from Hoggard, and that

Hoggard “fronted” the drugs to McCown. McCown’s admission spoke in general terms

of obtaining drugs from Hoggard and repackaging them for sale to customers; the

admission did not describe the means by which customers were obtained or the exact

role of McCown and Hoggard in communicating with customers. It is therefore

consistent with the fact that Hoggard provided McCown the drugs on credit that

Hoggard, the leader of the organization, would have closely supervised McCown’s sales

and indeed “dispatched” McCown to consummate sales that Hoggard had himself

arranged. Therefore, the admission is in no way contradicted by evidence from the

tape recordings, as characterized by McCown, that McCown delivered drugs on behalf

of Hoggard in situations where Hoggard was communicating directly with the ultimate

recipient of the drugs. Furthermore, as discussed earlier, a reasonable jury could

conclude from the evidence in the record that the conspiracy involved distribution of

crack cocaine, rather than some other drug. Therefore, the government presented

evidence from which a reasonable jury could infer that the government had proven

beyond a reasonable doubt all the necessary elements of the crime: (1) the existence of

a conspiracy to possess with intent to distribute or to distribute cocaine base; (2)

McCown knew of the existence of the conspiracy; (3) McCown intentionally joined the

conspiracy; (4) it was either known or reasonably foreseeable to McCown that the

conspiracy involved 50 grams or more of cocaine base.

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       Separately, McCown argues that the court, in response to the jury’s request that

certain conversations be played back, put the court’s imprimatur on the government’s

identification of McCown as a call participant. Before the jury entered, the court

reviewed the note that the jury had sent:

       THE COURT: Just to discuss the fact we have a note and it's been marked as
       Court Exhibit 1 and came to us at 12:58. It says the jury would like to hear the
       recordings of all McCown calls played tabs then listed five tabs. It says I can't
       read whether it says any others or any others.

Trial Tr. at 541. Attorney Cramer then requested, outside the presence of the jury, that

the court instruct the jury that “we're going to play the calls which the

government claims contain the voice of Mr. McCown.” Id. at 543. The interaction in the

presence of the jury took place as follows:

       THE COURT: Everyone please be seated. Ladies and gentlemen, I have
       received now two notes from you. I will start with first note I received. I'll read it
       into the record. It's been marked as Court Exhibit 1 as I read it, it says the jury
       would like to hear the recordings of all of the McCown calls as they were played
       tabs number 99, number 25, 52, 113, 127, or any others. And then bears the
       signature which I can't read. If the foreperson could stand and identify himself by
       jury number.
       THE FOREPERSON: Juror number 10.
       THE COURT: Have I correctly read that first note?
       THE FOREPERSON: Yes.
       THE COURT: What we'll do, we'll play those calls now. The government is going
       to play them in the order they played them during trial and I believe that we
       agreed there are 34 calls.
       MR. HALL: Yes.
       THE COURT: So if the government, whenever the government is ready, you can
       begin with call number 89. I believe it is the first one. And I would like to remind
       the jury of a couple of things. These calls that we have selected are the ones as
       to which the government offered evidence and claims they involve Mr. McCown.
       Also I will remind you that you may use your notebooks as they are played.
       Please remember the evidence is the tape recording itself, not what's in the
       notebook.
       MR. CRAMER: We have some remarks I made before, your Honor.
       THE COURT: I should I just did that.
       MR. CRAMER: No.

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       THE COURT: What we are going to play in response to your note are the tape
       recorded conversations which the government has claimed are Mr. McCown's
       calls. Whether they are or not is for you to decide that. But what we have
       selected are the calls that the government as I say has offered evidence they are
       but it is still up to you to decide if they are and those are the ones that we'll play
       now. All right, sir?
       MR. CRAMER: Yes.
       THE COURT: We're starting with 89. If you call off the number as you play them.
       (Playing the tape.)

Id. at 543-45. The court disagrees that it put the court’s imprimatur on the

government’s identification of McCown as the individual on the calls. The court did not

itself emphasize that it would play back the “Hoggard-McCown telephone

conversations,” as McCown contends. Mot. at 6. Rather, the court read back the text

of the jury’s note aloud to confirm its accuracy—the court’s standard practice when it

receives a note from the jury. The note itself referred to the calls as “the McCown

calls,” and accordingly the court recited that statement when reading the text of the

note. The court did not repeat this terminology of its own accord—after reading the

note, the court then said that it would “play those calls now,” and immediately reminded

the jury that, “[T]hese calls that we have selected are the ones as to which the

government offered evidence and claims they involve Mr. McCown.” Particularly in the

light of the court’s repeated instructions throughout the trial and in the charge delivered

to the jury earlier that morning, both of which emphasized that it was the jury’s task to

determine who the call participants were, the court believed that this instruction was

sufficient to respond to Attorney Cramer’s earlier request that the court not put its

imprimatur on the identity of the call participants. However, in response to Attorney

Cramer’s contemporaneous request for a further instruction, the court again

emphasized at greater length that it was the jury’s province to decide whether or not the

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calls actually contained the voice of McCown. Both admonitions took place before any

calls were played. Particularly in light of the further instruction immediately

administered and the instructions given throughout the case, the court does not believe

that its decision to read the jury’s note as written, and to then refer to the calls as “the

ones as to which the government offered evidence and claims they involve Mr.

McCown,” in any way put the court’s imprimatur on the government witnesses’

characterization of the call participants.

       C.     Motion for a New Trial

       Although the court has more discretion to grant a Rule 33 motion, the court finds

that there are no “extraordinary circumstances,” Ferguson, 246 F.3d at 133, present in

this case to warrant setting aside the jury’s verdict and ordering a new trial. In

examining the entire case, as it did in ruling on the Rule 29 motion, the court finds that

there is sufficient evidence in the trial record to support the jury’s verdict and that the

jury’s verdict did not result in a “manifest injustice.” Therefore, the court denies

McCown’s Motion for a New Trial.

IV.    CONCLUSION

       For the foregoing reasons, McCown’s Motion for Judgment of Acquittal under

Fed. R. Crim. P. 29(b), and Motion for a New Trial under Fed. R. Crim. P. 33(a) (Doc.

No. 843), is DENIED.




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SO ORDERED.

    Dated at Bridgeport, Connecticut this 25th day of March, 2009.


                                      /s/ Janet C. Hall
                                     Janet C. Hall
                                     United States District Judge




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